Case 2:O4-cr-20476-SHI\/| Document 128 Filed 08/30/05 Page 1 of 6 Page|D 323

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APRIL vEAcH

T. Clifton Harviel CJA
Defense Attorney

50 N. Front St., Ste. 850
Memphis, TN 38103

 

 

JUDGMENT lN A CR|MINAL CASE
(For Offenses Committed On or Aftar November 1, 1987)

The defendant pleaded guilty to Count 11 of the indictment on January 20, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

 

Date Count
Title & Section Nature of Offense Offense Number(s|
Concluded
18 U.S.C. § 241 Conspiracy to Vioiate the Rights of 11/19/2004 11

Citizens

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

IT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/12/1983 August 29, 2005
Deft's U.S. l\/larshal No.: 20026-076

Defendant’s Mai|ing Address:
171 Galloway Levee Road
Arlington, TN 38002

 
     

BERN|CE B. DONALD
UNITED STATES DlSTRlCT JUD

August § d , 200 `/)/<b

this document entered on the dock
with Fiu|e 55 and/or 32(b) FRCrP on

iC pléo/'/

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Case No: 2:O4CR20476-04 Defendant Name: Apri| VEACH Page 2 of 4
lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 13 Months with sentence to be deferred for 12
Months.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES MARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 2:04CR20476-04 Defendant Name: Apri| VEACH Page 3 of 4

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921. ‘

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation ofhcer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess. use,

distribute, or administer any narcotic or other controlled substance, or any paraphema|ia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a
law enforcement officer;

as

Case No: 2:04CR20476-04 Defendant Name: Aprii VEACH Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent cfa law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation ocher to make such notifications and to connrm the defendant's compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crlminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|TIONS OF SUPERVISED RELEASE

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer.

The defendant shall participate in mental health counseling as directed by the Probation
Officer.
The defendant shall obtain and maintain full-time employment

The defendant shall cooperate with the collection of DNA as directed by the Probation
Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. T_he defendant_shall
pay interest on any fine or restitution of more than $2,_500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U._S.C. §
3612(f). A|i of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Total Fine Total Restitution

 

Total Assessment
$100.00

 

The Special Assessment shall be due immediate|y.

FlNE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 128 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

